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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                                         Case No. 23-CR-241-JFH

 CODY PAUL MILLER,

                       Defendant.

                                    OPINION AND ORDER

       Before the Court is an Unopposed Motion for Leave to Dismiss Count One Without

Prejudice (“Motion”) filed by the United States of America (“Government”). Dkt. No. 67.

       Under Federal Rule of Criminal Procedure 48(a), “courts must grant prosecutors leave to

dismiss charges unless dismissal is clearly contrary to manifest public interest.” United States v.

Robertson, 45 F.3d 1423, 1437 n.14 (10th Cir. 1995) (quoting Rinaldi v. United States, 434 U.S.

22, 30 (1977)). The Court concludes that dismissal of Count One of the Indictment against

Defendant is not contrary to the public interest, nor is it for an improper purpose. Accordingly,

the Government’s Motion [Dkt. No. 67] should be granted.

       IT IS THEREFORE ORDERED that the Government’s Unopposed Motion for Leave to

Dismiss Count One Without Prejudice [Dkt. No. 67] is GRANTED and Count One of the

indictment [Dkt. No. 2] is dismissed without prejudice against Defendant Cody Paul Miller.

       Dated this 28th day of December 2023.




                                                     JOHN F. HEIL, III
                                                     UNITED STATES DISTRICT JUDGE
